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                                                                    JUDGE NORGLE
                                                                 MAGISTRATE JUDGE KIM
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